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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 TEDLA NICHOLSON,                                               :
                                                                :   ORDER
                                         Plaintiff,             :
              v.                                                :   18 Civ. 28 (AKH)
                                                                :
 CITY OF NEW YORK, et al,                                       :
                                                                :
                                          Defendants.           :
                                                                :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

         A suggestion of settlement having been made, this case is dismissed. If the settlement is

not consummated, either party may apply by letter for restoration of the action within 10 days of

this order. All pending court dates are cancelled. The Clerk is directed to close the case.



                 SO ORDERED.

Dated:           March 5, 2021                                       /s/ Alvin K. Hellerstein
                 New York, New York                                 ALVIN K. HELLERSTEIN
                                                                    United States District Judge
